oOo ND

\o

10
i
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 14-50331-gs Doc 27 Entered 04/30/14 16:12:32 Page 1 of 6

NICHOLAS STROZZA, ASSISTANT U.S. TRUSTEE
State Bar #CA 117234

WILLIAM B. COSSITT, #3484

Office of the United States trustee

300 Booth Street, Room 3009

Reno NV 89509

Telephone: (775) 784-5335

Fax: (775) 784-5531

Attomeys for United States Trustee
Tracy Hope Davis

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

Case no: BK-N-14-50331-BTB
Chapter 11.

In re:

AT EMERALD, LLC,
US TRUSTEE’S MOTION TO
CONVERT CASE TO CHAPTER 7

Hearing Date: July 30, 2014
Hearing Time: 2:00 p.m.
Est. Time Req.: 20 min.

a

Debtor.

 

The United States Trustee (“US Trustee”), hereby submits her Motion To Convert Case
To Chapter 7 (“Motion”), based upon the Debtor’s failure to maintain liability insurance, 11
U.S.C. § 1112(b)(4)(C), comply with the requirements of the Bankruptcy Code, and the United
States Trustee Program Guidelines (“Guidelines”).

This Motion is based upon the following points and authorities, together with the entire
record in these cases, of which the US Trustee respectfully requests the Court take judicial
notice, and such evidence as may be introduced at the hearing on this motion.

POINTS AND AUTHORITIES
Pursuant to 28 U.S.C. § 586(a)(3), the US Trustee is charged with supervising the

administration of cases and trustees under the Bankruptcy Code. To enable the US Trustee to

 
kh WO WN

oO > NN HN WN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 14-50331-gs Doc 27 _ Entered 04/30/14 16:12:32 Page 2 of 6

carry out that duty, Congress has granted the US Trustee standing to raise and to “appear and be
heard on any issue in any case or proceeding” brought under the Bankruptcy Code. 11 U.S.C. §
307. Pursuant to 28 U.S.C. § 586(a)(8), “in any case in which the United States trustee finds
material grounds for relief under section 1112 of title 11, the United States trustee shall apply
promptly after making that finding to the Court for relief.”

Statement of Facts:

1. The Debtor filed voluntary bankruptcy under chapter 11 on March 4, 2014.
Docket #1.

2. The US Trustee was advised that the Debtor does not maintain insurance on its
main asset, an emerald which based on appraisal value exceeds $200,000,000. Docket #1,
Schedule B.

3. The US Trustee has contacted the Debtor requesting insurance.

4, Attached hereto as Exhibit “A” is a true and correct copy of the response received.

5. To date, proof of insurance coverage has not been provided to the US Trustee.

Application of facts and legal authorities:

Pursuant to 11 U.S.C. Section 1112(b)(4)(C), the Debtor’s “failure to maintain
appropriate insurance that poses a risk to the estate or to the public” is cause for dismissal or
conversion of this case to chapter 7. Guideline 4.4.7 states:

4.4.7. INSURANCE COVERAGE: Debtor shall obtain or maintain sufficient insurance

coverage to protect the assets of the estate. “Sufficient insurance” means insurance that

is sufficient to cover the full value of the asset, not just the amount of any secured
_ interest.
(a) Where appropriate, Debtor shall obtain or maintain, as appropriate, general
liability, casualty, ... insurance.
(b) Within fifteen (15) days of the commencement of the case, Debtor shall
provide to the United States Trustee copies of the declaration pages of all applicable

insurance policies or binders, together with the expiration date for each, showing Debtor
as a named insured of a current policy.

 

 
oOo Co NN SD

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 14-50331-gs Doc 27 _ Entered 04/30/14 16:12:32 Page 3 of 6

' Operating Report.

insurance coverage.

the emerald.

bankruptcy estate and the creditors.

DATED this 30" day of April, 2014.

 

(c) Debtor shall provide to the United States Trustee updated proof of insurance
as such policies expire by attaching copies of the new declaration page to the Monthly

(d) Debtor shall immediately notify the United States Trustee of any changes in

Attached Exhibit “A” confirms that the Debtor has been requested to obtain insurance on
Cause therefore exists for conversion of this case to chapter 7 for the protection of the
CONCLUSION

WHEREFORE, for all the reasons stated above, the US Trustee respectfully requests the

Court convert this case to chapter 7, and grant such other relief as the Court deems proper.

Respectfully submitted,

Nicholas Strozza

State Bar # CA 117234
William B. Cossitt

State Bar #3484

300 Booth Street, #3009
Reno NV 89509

(775) 784-5335

/s/ WILLIAM B. COSSITT

 

Attorneys for United States Trustee
Tracy Hope Davis

 

 

 
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 14-50331-gs Doc 27 _ Entered 04/30/14 16:12:32 Page 4of6é

CERTIFICATE OF SERVICE

1. On April 30, 2014 I served the foregoing US TRUSTEE’S MOTION TO CONVERT
CASE TO CHAPTER 7.

2. I served the above-named document( by the following means to the persons as listed
below:
Mi a. ECF System:

TIMOTHY A LUKAS © ecflukast@hollandhart.com
ALAN R SMITH mail@asmithlaw.com .
U.S. TRUSTEE -RN-11 USTPRegion17.RE.ECF@usdo}j.gov

Yi b. U.S. Mail, postage fully prepaid:

AT EMERALD, LLC

7725 PEAVINE PEAK COURT

RENO, NV 89523

I declare under penalty of perjury that the foregoing is true and correct.

DATED this 30" day of April, 2014.

/s/ Robbin Little
ROBBIN LITTLE

 

 
Case 14-50331-gs Doc 27 _ Entered 04/30/14 16:12:32 Page5of6

 
Case 14-50331-gs Doc27 Entered 04/30/14 16:12:32 Page 6 of 6

Cossitt, Bill (USTP)

From: _ Holly Estes <estes@asmithlaw.com>

Sent: Wednesday, April 02, 2014 3:49 PM

To: Cossitt, Bill (USTP); mail@asmithlaw.com

Ce: Strozza, Nick (USTP); Kinne, Kristine (USTP)

Subject: — - RE: At Emerald, LLC 14-50331 insurance coverage for emerald

| will make this request to my client.
Best,

Holly

 

From: Cossitt, Bill (USTP) mailto: Bill. Cossitt@usdoj.gov]
Sent: Monday, March 31, 2014 4:33 PM a.

To: estes@asmithlaw.com
Cc: Strozza, Nick (USTP); Kinne, Kristine (USTP)
Subject: At Emerald, LLC 14-50331 insurance coverage for emerald

3/31/14
Dear Holly:

The US Trustee, pursuant to US Trustee Guideline 4.4.7, requires proof of insurance coverage for the emerald. Please
advise me of whether the Debtor will obtain insurance.

Bill Cossitt

 
